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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

 IN RE: TAXOTERE
 (DOCETAXEL)
 PRODUCTS LIABILITY                                               MDL No. 16-2740
 LITIGATION
                                               Master Docket No. 2:16-md-02740
 THIS DOCUMENT RELATES TO:
                                                  Civil Action No. 2:18-cv-07024
 JULIE CLARK,
                                                              Judge Jane T. Milazzo
        Plaintiff,

 v.

 SANOFI US SERVICES, INC., and
 SANOFI-AVENTIS U.S. LLC,

 Defendants.



                      PLAINTIFF’S NOTICE OF APPEAL


        Notice is hereby given that Julie Clark, Plaintiff in the above-named case,

hereby appeals to the United States Court of Appeals for the Fifth Circuit from

Document # 7635: ORDER denying Plaintiff’s Rule 59 Motion, which was entered

in this action on July 16, 2019.

        Respectfully submitted this 8th day of August 2019.
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                              /s/ J. Christopher Elliott                 f
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 8th day of August 2019, a true and correct copy of

the foregoing Plaintiff’s Notice of Appeal was served on counsel of record via the

CM/ECF System.


                                       /s/ J. Christopher Elliott                  f
                                       J. Christopher Elliott, Esq.




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